     Case 1:21-cv-02720-WMR-JSA Document 1 Filed 07/07/21 Page 1 of 36




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

EBONY SAMUEL, SIDDEEQUAH
A. McCRAE, CIERA COLBERT, and
TAMMY ENGLISH,
                                               CIVIL ACTION FILE
       Plaintiffs,
                                               No. 1:21-cv-___________
v.
                                               JURY TRIAL DEMANDED
DERMATOLOGY ASSOCIATES OF
ATLANTA, P.C. and DR. EDMOND
I. GRIFFIN,

       Defendants.

                                  COMPLAINT

      Plaintiffs Ebony Samuel, Tammy English, Ciera Colbert, and Siddeequah A.

McCrae (collectively, “Plaintiffs”) bring this action against their former employer,

Dermatology Associates of Atlanta, P.C. (“DAA”) and the founder of that practice,

Dr. Edmond I. Griffin (“Defendant Griffin”), showing the Court as follows:

                                    Introduction

                                          1.

      Plaintiffs bring this action pursuant to the provisions of Title VII of the Civil

Rights Act of 1964, 42 U.S.C. §2000(e) et seq., as amended and Section 1981 of the

Civil Rights Act of 1866, 42 U.S.C. § 1981, as amended by the Civil Rights Act of
     Case 1:21-cv-02720-WMR-JSA Document 1 Filed 07/07/21 Page 2 of 36




1991, for damages to compensate them for economic loss and other injuries they

have sustained as a consequence of unlawful employment practices committed

against them on account of their race and/or religion and to retaliate against them for

raising issues related to ongoing and pervasive discrimination at DAA. Plaintiff

Colbert additionally asserts claims against DAA for its discriminatory and retaliatory

actions in violation of the Americans with Disabilities Act Amendments Act

(“ADA”).

                          Parties, Jurisdiction, and Venue

                                          2.

      This Court has jurisdiction over the subject matter of this action pursuant to

Title VII of the Civil Rights Act of 1964, 42 U.S.C. §2000e, et seq. and 28 U.S.C. §

1331 and 1367.

                                          3.

      DAA is a for profit corporation, organized and existing under the laws of the

State of Georgia. DAA can be served by and through its registered agent Edmond

I. Griffin at 605 Cambridge Way, Atlanta, Georgia, 30328.

                                          4.

      Defendant Griffin is a natural person and a resident of the State of Georgia.

Defendant Griffin may be served at his residence address, 605 Cambridge Way,

                                         -2-
     Case 1:21-cv-02720-WMR-JSA Document 1 Filed 07/07/21 Page 3 of 36




Atlanta, Georgia, 30328. Defendant Griffin is the founder of DAA and all times

relevant to this matter was a supervisor of Plaintiffs.

                                           5.

      The venue of this action is proper before this Court pursuant to 28 U.S.C. §

1391 because this is the judicial district and division in which DAA resides and in

which a substantial part of the events giving rise to this case occurred. All Plaintiffs

are citizens of the United States and were residents of Fulton County, Georgia,

during their employment with Defendant DAA.

                         Background Facts: Ebony Samuel

                                           6.

      Plaintiff Ebony Samuel is a former employee of DAA. Plaintiff Samuel is a

bi-racial African American woman and a Muslim.

                                           7.

      Plaintiff Samuel began her employment with DAA in or about November

2014 as a medical assistant (“MA”).

                                           8.

      On numerous occasions throughout her years-long employment with DAA,

Plaintiff Samuel was subjected to verbal abuse and harassment by Defendant Griffin

and DAA’s office manager, Sharon Williams, because of her race and religion.

                                         -3-
     Case 1:21-cv-02720-WMR-JSA Document 1 Filed 07/07/21 Page 4 of 36




                                         9.

       In March 2019, Plaintiff Samuel was present when Plaintiff McCrae was

wearing a scarf on her head and Defendant Griffin asked her what she was wearing.

When Plaintiff McCrae explained that it was a scarf, Defendant Griffin explained

that he thought it was “one of those things Muslims wear on their heads” and

although wearing a regular head scarf was fine, wearing a hajib in the office would

not be allowed.

                                        10.

      Defendant Griffin did not bother to explain why wearing a scarf was deemed

appropriate but wearing a hajib was not. Despite this incident being reported to Ms.

Williams, she claimed there was nothing that could be done since Defendant Griffin

was the founder of the practice. Defendants further never bothered to explain why

one employee was allowed to wear his yarmulke but why wearing a hijab was not

allowed.

                                        11.

      Defendant Griffin also screamed and raved at African Americans in the office,

including Plaintiff Samuel, on a frequent basis but never did so with white

employees.




                                       -4-
     Case 1:21-cv-02720-WMR-JSA Document 1 Filed 07/07/21 Page 5 of 36




                                        12.

      Defendant Griffin also called Plaintiff Samuel an “oreo” on account of her

being a bi-racial African American.

                                        13.

      During her time with DAA, Plaintiff Samuel was never disciplined and never

had any performance issues. On the contrary, Ms. Williams, the office manager,

frequently praised Plaintiff Samuel for her work ethic, the speed with which she

learned new skills, and her ability and willingness to train other MAs.

                                        14.

      Plaintiff Samuel filed her first Charge of Discrimination with the Equal

Employment Opportunity Commission (“EEOC”) on July 30, 2019, and her second

Charge of Discrimination on September 27, 2019. True and correct copies of her

Charges of Discrimination are attached hereto as composite Exhibit “1.”

                                        15.

      Within a few weeks of filing her first Charge of Discrimination in which she

alleged both racial and religious discrimination, Plaintiff Samuel was notified that

she would be terminated and was ultimately terminated from her position as an MA

on August 22, 2019. At the time of her discharge there were open positions that




                                        -5-
     Case 1:21-cv-02720-WMR-JSA Document 1 Filed 07/07/21 Page 6 of 36




Plaintiff Samuel was competent to fill and for which she applied that were instead

filled by white employees.

                                         16.

      On or about April 8, 2021, the EEOC issued Plaintiff Samuel Notices of Right

to Sue. True and correct copies of the Notices of Right to Sue are attached hereto as

composite Exhibit “2.”

                                         17.

      Plaintiff Samuel has timely filed her Complaint within 90 days of her receipt

of the Notices of Right to Sue, and she has therefore satisfied all administrative and

statutory prerequisites to bringing her claims under Title VII.

                       Background Facts: Tammy English

                                         18.

      Plaintiff Tammy English is a former employee of DAA. Plaintiff is an African

American woman.

                                         19.

      Plaintiff English began her employment with DAA in or about March 2013 as

an MA.




                                        -6-
     Case 1:21-cv-02720-WMR-JSA Document 1 Filed 07/07/21 Page 7 of 36




                                        20.

      On numerous occasions throughout her years-long employment with DAA,

Plaintiff English was subjected to verbal abuse and harassment by Defendant Griffin

and Ms. Williams because of her race.

                                        21.

      Defendant Griffin screamed and raved at African Americans in the office,

including Plaintiff English, on a frequent basis but never did so with white

employees.

                                        22.

      On one occasion, Defendant Griffin called Plaintiff English a “white

snowman,” a means of derogatorily referring to her race.

                                        23.

      Defendant Griffin also appeared to delight in telling African American

employees of DAA, including Plaintiff English, that his family once owned African

American slaves and referred to eating “slave food.”

                                        24.

      Defendant Griffin also in the presence of Plaintiff English mocked black

children who rode on school buses, saying that when he saw them, because they




                                        -7-
     Case 1:21-cv-02720-WMR-JSA Document 1 Filed 07/07/21 Page 8 of 36




were so dark skinned, the only thing he could see was the whites of their eyes.

Defendant Griffin appeared to find this quite humorous.

                                        25.

      Plaintiff English filed her Charges of Discrimination with the with the EEOC

June 4, 2019, and September 27, 2019. True and correct copies of her Charges of

Discrimination are attached hereto as composite Exhibit “3.”

                                        26.

       Within a couple of months of filing her first Charge of Discrimination,

Plaintiff English was notified that she would be terminated and was ultimately

terminated from her position as an MA on August 22, 2019. At the time of her

discharge there were open positions that Plaintiff English was competent to fill and

for which she applied that were instead filled by white employees.

                                        27.

      On or about April 8, 2021, the EEOC issued Plaintiff English Notices of Right

to Sue. True and correct copies of the Notices of Right to Sue are attached hereto as

composite Exhibit “4.”




                                        -8-
     Case 1:21-cv-02720-WMR-JSA Document 1 Filed 07/07/21 Page 9 of 36




                                         28.

      Plaintiff English has timely filed her Complaint within 90 days of her receipt

of the Notices of Right to Sue, and she has therefore satisfied all administrative and

statutory prerequisites to bringing her claims under Title VII.

                         Background Facts: Ciera Colbert

                                         29.

      Plaintiff Ciera Colbert is a former employee of DAA. Plaintiff is an African

American woman.

                                         30.

      Plaintiff Colbert began her full-time employment with DAA as an MA in or

about March 2017.

                                         31.

      Plaintiff Colbert was subjected to verbal abuse and harassment by Defendant

Griffin and Ms. Williams because of her race.

                                         32.

      Defendant Griffin screamed and raved at African Americans in the office,

including Plaintiff Colbert, on a frequent basis but never did so with white

employees.




                                        -9-
     Case 1:21-cv-02720-WMR-JSA Document 1 Filed 07/07/21 Page 10 of 36




                                         33.

      Plaintiff Colbert also endured unequal terms and conditions of employment.

In particular, she was not provided an appropriate workstation but instead provided

a partially broken desk and stool to sit on. When her desk eventually fell apart, she

was forced to use the top of a refrigerator as a makeshift desk.

                                         34.

      Despite repeated requests to provide her with an appropriate workstation and

an offer to pay for one out of her own pockets, DAA never provided Plaintiff Colbert

with an appropriate workstation. In contrast to Plaintiff Colbert’s workstation, white

MAs were provided appropriate workstations.

                                         35.

      Plaintiff Colbert was also subjected to abuse on account of a disability. As a

result of the racially hostile work environment created by Defendants, in or around

January 2019, Plaintiff Colbert suffered an anxiety attack.

                                         36.

      At the time of her anxiety attack Plaintiff Colbert directly informed Ms.

Williams that she had been diagnosed with and suffered from anxiety and depression

ever since she was a teenager. Further and upon request by Ms. Williams, Plaintiff




                                        - 10 -
     Case 1:21-cv-02720-WMR-JSA Document 1 Filed 07/07/21 Page 11 of 36




Colbert informed Ms. Williams of the medications she was taking for her anxiety

and depression.

                                         37.

      Plaintiff Colbert also informed Plaintiff English, as her team lead, of her

diagnosis and medications, and Plaintiff English, at the request of Plaintiff Colbert,

discussed Plaintiff Colbert’s diagnosis and prior anxiety attack with Ms. Williams.

During this discussion, Ms. Williams informed Plaintiff English that Plaintiff

Colbert’s anxiety and depression and resulting anxiety attacks were a “liability” and

stated that Plaintiff Colbert would be terminated if she suffered another anxiety

attack.

                                         38.

      Furthermore, the day after Plaintiff Colbert suffered her anxiety attack, Ms.

Williams walked through the halls within the hearing of Plaintiff Colbert and

mocked the notion of employees having anxiety attacks and fainting at work.

                                         39.

      As a result of Plaintiff Colbert’s fear of termination based upon Ms.

Williams’s threat to fire Plaintiff Colbert if she suffered another anxiety attack,

Plaintiff Colbert, with help from the other Plaintiffs, would seclude herself in a room

away from Ms. Williams whenever she had an anxiety attack.

                                        - 11 -
     Case 1:21-cv-02720-WMR-JSA Document 1 Filed 07/07/21 Page 12 of 36




                                          40.

      Plaintiff Colbert filed her Charges of Discrimination with the with the EEOC

on June 4, 2019, and September 27, 2019. True and correct copies her Charges of

Discrimination are attached hereto as composite Exhibit “5.”

                                          41.

      Within a couple of months of filing her first Charge of Discrimination in

which she alleged both racial and disability discrimination, Plaintiff Colbert was

notified that she would be terminated and was ultimately terminated from her

position as an MA on August 22, 2019. At the time of her discharge there were open

positions that Plaintiff Colbert was competent to fill and for which she applied that

were instead filled by white employees.

                                          42.

      On or about April 8, 2021, the EEOC issued Plaintiff Colbert Notices of Right

to Sue. True and correct copies of the Notices of Right to Sue are attached hereto as

composite Exhibit “6.”

                                          43.

      Plaintiff Colbert has timely filed her Complaint within 90 days of her receipt

of the Notices of Right to Sue, and she has therefore satisfied all administrative and

statutory prerequisites to bringing her claims under Title VII and the ADA.

                                        - 12 -
     Case 1:21-cv-02720-WMR-JSA Document 1 Filed 07/07/21 Page 13 of 36




                     Background Facts: Siddeequah McCrae

                                        44.

      Plaintiff Siddeequah McCrae is a former employee of DAA. Plaintiff McCrae

is an African American woman and a Muslim.

                                        45.

      Plaintiff McCrae began her employment with DAA in or about August 2014

as a front desk specialist (“FDS”).

                                        46.

      During her employment with DAA, Plaintiff McCrae was subject to abuse and

harassment by Defendants on account of her religion.

                                        47.

      In March 2019, Plaintiff McCrae was wearing a scarf on her head and asked

by Defendant Griffin, in the presence of Plaintiff Samuel, about the scarf. Defendant

Griffin told Plaintiff McCrae that he thought the scarf was “one of those things

Muslims wear on their heads” and that although wearing a head scarf was fine,

wearing a hajib in the office would not be appropriate.

                                        48.

      Plaintiff McCrae, like Plaintiff Samuel, was struck by the fact that Defendant

Griffin apparently considered wearing a scarf in the office to be appropriate, while

                                       - 13 -
    Case 1:21-cv-02720-WMR-JSA Document 1 Filed 07/07/21 Page 14 of 36




wearing a hajib was not. When this incident was reported to the office manager, Ms.

Williams, she claimed there was nothing that could be done since Defendant Griffin

was the founder of the practice. Defendants further never bothered to explain why

one employee was allowed to wear his yarmulke but why wearing a hijab was not

allowed.

                                        49.

      Plaintiff McCrae was also subjected to verbal abuse, harassment, and bullying

by Defendant Griffin and Ms. Williams because of her race.

                                        50.

      Defendant Griffin screamed and raved at African Americans in the office,

including Plaintiff McCrae, on a frequent basis but never did so with white

employees. Specifically, on or about May 22, 2019, Defendant Griffin verbally

harassed, degraded, and embarrassed Plaintiff McCrae in front of patients and co-

workers as a result of a patient allegedly taking too long to complete paperwork.

Later that same day, Plaintiff McCrae submitted a written complaint of the

harassment to Ms. Williams and, when Ms. Williams did not respond, met with Ms.

Williams in person to complain of Defendant Griffin’s harassment. Despite Plaintiff

McCrae’s complaint, Ms. Williams informed Plaintiff McCrae that there was

nothing she could do since Defendant Griffin was the founder of the practice.

                                      - 14 -
     Case 1:21-cv-02720-WMR-JSA Document 1 Filed 07/07/21 Page 15 of 36




                                        51.

      Ms. Williams also told African American employees that they could not to

wear their hair in braids.

                                        52.

      Plaintiff McRae also endured unequal terms and conditions of employment.

In particular, she was not provided a chair to sit in while working the front desk.

Consequently, Plaintiff McCrae was forced to stand all day long while other white

FDSs were provided with chairs and were able to sit during the workday.

                                        53.

      Additionally, Plaintiff McCrae was paid less than white FDSs despite working

for DAA for longer than these white FDSs, some of whom she trained and whose

starting rates of pay were higher than Plaintiff McCrae’s.

                                        54.

      Plaintiff McCrae filed her Charge of Discrimination with the with the EEOC

on May 30, 2019. A true and correct copy her Charge of Discrimination is attached

hereto as Exhibit “7.”

                                        55.

      Based on the hostile work environment and unequal terms and conditions of

employment created by Defendants, Plaintiff McCrae was constructively discharged

                                       - 15 -
     Case 1:21-cv-02720-WMR-JSA Document 1 Filed 07/07/21 Page 16 of 36




and felt forced to resign from her position with DAA on December 19, 2019. At the

time of her resignation, Plaintiff McCrae still made less than white FDSs despite

working for DAA for longer than these white FDSs.

                                         56.

      On or about April 8, 2021, the EEOC issued Plaintiff McCrae a Notice of

Right to Sue, a true and correct copy of which is attached hereto as Exhibit “8.”

                                         57.

      Plaintiff McCrae has timely filed her Complaint within 90 days of her receipt

of the Notice of Right to Sue, and she has therefore satisfied all administrative and

statutory prerequisites to bringing her claim under Title VII.

         Allegations Common to Plaintiffs Samuel, English, and Colbert

                                         58.

      Plaintiffs Samuel, English, and Colbert worked with Dr. Stephen Kraus. Dr.

Kraus was a survivor of cancer at the time, and when he had a relapse in the Summer

of 2019, he left the practice on or about July 31, 2019 and died on October 28, 2019.

                                         59.

      When Dr. Kraus left the practice, Plaintiffs Samuel, English, and Colbert

made it clear that they wished to retain their jobs with DAA and would accept




                                        - 16 -
     Case 1:21-cv-02720-WMR-JSA Document 1 Filed 07/07/21 Page 17 of 36




reassignment to other providers within the group and perform other services that

were part of the practice’s service offerings.

                                         60.

      Plaintiffs Samuel, English, and Colbert were capable of and qualified for

performing services that the practice offered following Dr. Kraus’s departure since

they had performed many of the services in the available positions during their

employment with DAA.

                                         61.

      Nonetheless, following Dr. Kraus’s departure, DAA immediately decided to

terminate Plaintiffs Samuel, English, and Colbert.

                                         62.

      Although Plaintiffs Samuel, English, and Colbert wished to keep their jobs

following Dr. Kraus’s departure, they were terminated, and white applicants with

less experience and qualifications were hired to fill available and unfilled job

positions.

                                         63.

      Plaintiffs Samuel, English, and Colbert were not invited to take the available

and unfilled jobs that were given to the new white employees because of their race




                                        - 17 -
     Case 1:21-cv-02720-WMR-JSA Document 1 Filed 07/07/21 Page 18 of 36




and/or religion and as retaliation for having filed Charges of Discrimination with the

EEOC.

                          Facts Relevant to All Plaintiffs

                                         64.

      All Plaintiffs were paid less that white employees who performed the same

type of work requiring equal skill, effort, and responsibility, and which are

performed under similar working conditions.

                                         65.

      On many occasions, white employees received annual raises and/or bonuses

while Plaintiffs would receive no compensation review and no raise or bonus despite

receiving satisfactory (or better) performance reviews.

                                         66.

      All Plaintiffs were denied the opportunity to work overtime to make additional

money. When overtime work was available, the work would be assigned to white

employees, or an African American employee, including one of the Plaintiffs, would

be told to clock out.

                                         67.

      DAA operates its practice out of eight (8) suites at the 5555 Peachtree

Dunwoody Building.       When DAA hired African American employees, those

                                        - 18 -
     Case 1:21-cv-02720-WMR-JSA Document 1 Filed 07/07/21 Page 19 of 36




employees would almost exclusively, if not exclusively, be assigned to Suite 190.

The other seven (7) suites were virtually, if not entirely, all white. In short, DAA

segregated its employees into an African American suite, Suite 190, and white suites,

all the rest.

                                         68.

       Dr. Griffin worked in Suite 190 and as described in above allegations, engaged

in severe and pervasive harassment and intimidation of African American

employees.

                                         69.

       The racially hostile work environment further manifested itself in racial

comments made by Defendant Griffin on a regular basis. For example, Defendant

Griffin would often lament the fact that he believed that African American

employees felt entitled to take off for the Martin Luther King Holiday.

                                         70.

       Despite complaints about DAA’s racially hostile environment, including but

not limited to Dr. Griffin’s harassment, DAA failed to take action. Instead, Ms.

Williams would often comment to Plaintiffs that Defendant Griffin could not be

disciplined because he was the founder of DAA.




                                       - 19 -
    Case 1:21-cv-02720-WMR-JSA Document 1 Filed 07/07/21 Page 20 of 36




                                         71.

      On several occasions when African Americans complained about Defendant

Griffin’s racial harassment and intimidation they were threatened with termination

and, in some instances, terminated on the spot. As such, Defendants created the good

faith and rational belief amongst employees, including Plaintiffs, that reporting

Defendant Griffin’s constant racial harassment would result in reprisal, including

termination.

         COUNT I: DISCRIMINATION CLAIM UNDER TITLE VII
                 OF THE CIVIL RIGHTS ACT OF 1964
                           (All Plaintiffs)

                                         72.

      Plaintiffs repeat and incorporate by reference herein the allegations of

Paragraphs 1 through 71 of the Complaint.

                                         73.

      Throughout their employment with DAA, Plaintiffs were members of various

classes protected by Title VII of the Civil Rights Act of 1964.

                                         74.

      During their employment with DAA, all Plaintiffs were forced to endure

harassing and disparaging remarks and bullying from Dr. Griffin and Ms. Williams

that were directed almost exclusively at African American employees of DAA.

                                       - 20 -
     Case 1:21-cv-02720-WMR-JSA Document 1 Filed 07/07/21 Page 21 of 36




Although Plaintiffs reported such incidents to Ms. Williams as the Office Manager,

nothing was ever done to discourage such conduct or discipline employees who were

responsible for creating a racially hostile environment.

                                         75.

      Additionally, DAA segregated its workforce into seven (7) white suites and a

separate and unequal African American suite.

                                         76.

      In addition, Plaintiffs’ race was a motivating factor leading to unequal

treatment experienced by all Plaintiffs and the termination of Plaintiffs Samuel,

English, and Colbert by DAA, and the constructive discharge of Plaintiff McCrae.

                                         77.

      As a direct, legal, and proximate result of said discrimination, Plaintiffs have

sustained economic and emotional injuries, resulting in damages in an amount to be

proven at trial. Plaintiffs are entitled to recover back pay, future monetary losses,

and compensation for mental anguish and inconvenience.

                                         78.

      DAA’s unlawful actions were intentional, willful, malicious, and/or done with

reckless disregard to Plaintiffs’ right to be free from discrimination based on race,

entitling Plaintiffs to recover punitive damages.

                                        - 21 -
        Case 1:21-cv-02720-WMR-JSA Document 1 Filed 07/07/21 Page 22 of 36




                                            79.

         Plaintiffs are entitled to recover their reasonable attorneys’ fees and costs of

suit.

           COUNT II: DISCRIMINATION CLAIM UNDER TITLE VII
                   OF THE CIVIL RIGHTS ACT OF 1964
                        (Plaintiffs Samuel and McCrae)

                                            80.

         Plaintiffs repeat and incorporate by reference herein the allegations of

Paragraphs 1 through 71 of the Complaint.

                                            81.

         Throughout their employment with DAA, Plaintiffs, as African American

female Muslims, were members of various classes protected by Title VII of the Civil

Rights Act of 1964.

                                            82.

         During their employment with DAA, Plaintiffs Samuel and McCrae were

treated differently by Defendants on account of their religious beliefs. Although

Plaintiffs Samuel and McCrae reported such incidents to Ms. Williams as the Office

Manager, nothing was ever done to discourage such conduct or discipline employees

who were responsible for their different treatment on account of their religious




                                          - 22 -
        Case 1:21-cv-02720-WMR-JSA Document 1 Filed 07/07/21 Page 23 of 36




beliefs. Further, other employees who were not Muslim were treated differently from

Plaintiffs.

                                            83.

         In addition, Plaintiffs’ religious beliefs were motivating factors leading to

unequal treatment experienced by Plaintiffs and the termination of Plaintiff Samuel

and constructive discharge of Plaintiff McCrae.

                                            84.

         As a direct, legal, and proximate result of said discrimination, Plaintiffs have

sustained economic and emotional injuries, resulting in damages in an amount to be

proven at trial and are entitled to recover back pay, future monetary losses, and

compensation for mental anguish and inconvenience.

                                            85.

         DAA’s unlawful actions were intentional, willful, malicious, and/or done with

reckless disregard to Plaintiffs’ right to be free from discrimination based on

religion, entitling Plaintiffs to recover punitive damages.

                                            86.

         Plaintiffs are entitled to recover their reasonable attorneys’ fees and costs of

suit.




                                          - 23 -
    Case 1:21-cv-02720-WMR-JSA Document 1 Filed 07/07/21 Page 24 of 36




               COUNT III: RETALIATION UNDER TITLE VII
                  (Plaintiffs Samuel, English, and Colbert)

                                          87.

      Plaintiffs repeat and incorporate by reference herein the allegations of

Paragraphs 1 through 71 of the Complaint.

                                          88.

      Plaintiffs reported Defendant Griffin’s racist and religiously bigoted

comments, harassment, and bullying, and other acts of racial and religious animus

and toxic work environment to Ms. Williams, DAA’s office manager and the person

designated to receive such complaints.

                                          89.

      Within a short time-period after filing their first Charges of Discrimination

with the EEOC and immediately after Dr. Kraus’s death, Plaintiffs Samuel, English,

and Colbert were notified that they would be terminated by DAA.

                                          90.

      Plaintiffs Samuel, English, and Colbert are entitled to recover back pay, future

monetary losses, and compensation for mental anguish and inconvenience for the

violations described herein.




                                         - 24 -
     Case 1:21-cv-02720-WMR-JSA Document 1 Filed 07/07/21 Page 25 of 36




                                          91.

      DAA has acted with malice or reckless indifference to Plaintiffs Samuel,

English, and Colbert’s rights, entitling them to recover punitive damages.

                                          92.

      Plaintiffs Samuel, English, and Colbert are also entitled to recover their costs

of litigation, including reasonable attorneys’ fees.

                    COUNT IV: DISCRIMINATION CLAIM
                      PURSUANT TO 42 U.S.C. § 1981
                               (All Plaintiffs)

                                          93.

      Plaintiffs repeat and incorporate by reference herein the allegations of

Paragraphs 1 through 71 of the Complaint.

                                          94.

      42 U.S.C. § 1981(a) provides that “[a]ll persons within the jurisdiction of the

United States shall have the same right in every State and Territory to make and

enforce contracts, to sue, be parties, give evidence, and to the full and equal benefit

of all laws and proceedings for the security of persons and property as is enjoyed by

white citizens, and shall be subject to like punishment, pains, penalties, taxes,

licenses, and exactions of every kind, and to no other.”




                                        - 25 -
    Case 1:21-cv-02720-WMR-JSA Document 1 Filed 07/07/21 Page 26 of 36




                                         95.

      “‘Make and enforce contracts’ includes the making, performance,

modification, and termination of contracts, and the enjoyment of all benefits,

privileges, terms, and conditions of the contractual relationship.” 42 U.S.C. §

1981(b).

                                         96.

      Plaintiffs are all “person[s] within the jurisdiction of the United States.”

                                         97.

      Plaintiffs worked for DAA for years before they were each terminated on

pretextual grounds despite their unblemished disciplinary record and their history of

excellent to acceptable job performance.

                                         98.

      During their employment with DAA, Plaintiffs were forced to endure

harassing and disparaging remarks from Defendant Griffin, a direct supervisor of

Plaintiffs, and other employees of DAA on account of their race. Such comments

were severe and pervasive and made on a regular basis.

                                         99.

      Comparable white employees were not subject to such racial harassment and

disparaging remarks.

                                        - 26 -
    Case 1:21-cv-02720-WMR-JSA Document 1 Filed 07/07/21 Page 27 of 36




                                        100.

      Although Plaintiffs reported such incidents to upper management at DAA,

nothing was ever done to discourage such conduct or discipline employees who were

responsible for creating a racially hostile environment. Instead, Plaintiffs Samuel,

English, and Colbert were terminated and Plaintiff McCrae was constructively

discharged because of their race and complaints of racial harassment.

                                        101.

      By the conduct described herein, Defendants intentionally deprived Plaintiffs

of the same rights as are enjoyed by white citizens to the creation, performance,

enjoyment, and all benefits and privileges, of their contractual employment

relationship with DAA, in violation of 42 U.S.C. § 1981.

                                        102.

      As a direct, legal, and proximate result of the discrimination, Plaintiffs have

sustained economic and emotional injuries, resulting in damages in an amount to be

proven at trial. Plaintiffs are entitled to recover back pay, future monetary losses,

and compensation for mental anguish and inconvenience.




                                       - 27 -
        Case 1:21-cv-02720-WMR-JSA Document 1 Filed 07/07/21 Page 28 of 36




                                           103.

         Defendants’ unlawful actions were intentional, willful, malicious, and/or done

with reckless disregard to Plaintiffs’ right to be free from discrimination based on

race, entitling Plaintiffs to recover punitive damages.

                                           104.

         Plaintiffs are entitled to recover their reasonable attorneys’ fees and costs of

suit.

         COUNT V: RETALIATION CLAIM PURSUANT TO 42 U.S.C. § 1981
                    (Plaintiffs Samuel, English, and Colbert)

                                           105.

         Plaintiffs repeat and incorporate by reference herein the allegations of

Paragraphs 1 through 71 of the Complaint.

                                           106.

         During their employment with DAA, Plaintiffs Samuel, English, and Colbert

were forced to endure harassing and disparaging remarks from Defendant Griffin

and employees of DAA on account of their race.

                                           107.

         Plaintiffs made multiple complaints to DAA regarding the racially hostile

work environment created by Defendant Griffin and DAA employees. Ultimately,

Plaintiffs each filed Charges of Discrimination with the EEOC.
                                          - 28 -
    Case 1:21-cv-02720-WMR-JSA Document 1 Filed 07/07/21 Page 29 of 36




                                        108.

      In response to Plaintiffs’ complaints of a racially hostile work environment

and their Charges of Discrimination, DAA, including Defendant Griffin as founder

of DAA and a supervisor of Plaintiffs, took materially adverse actions against

Plaintiffs, including, but not limited to, terminating their employment despite their

unblemished disciplinary record and their history of excellent to acceptable job

performance.

                                        109.

      Defendants did not take similar materially adverse actions with comparable

white employees.

                                        110.

      Defendants’ retaliatory actions would deter a reasonable employee from

engaging in activity protected under 42 U.S.C. § 1981.

                                        111.

      As a direct, legal, and proximate result of the discrimination, Plaintiffs have

sustained economic and emotional injuries, resulting in damages in an amount to be

proven at trial. They are entitled to recover back pay, future monetary losses, and

compensation for mental anguish and inconvenience.




                                       - 29 -
        Case 1:21-cv-02720-WMR-JSA Document 1 Filed 07/07/21 Page 30 of 36




                                           112.

         Defendants’ unlawful actions were intentional, willful, malicious, and/or done

with reckless disregard to Plaintiffs’ right to be free from discrimination based on

race, entitling Plaintiffs to recover punitive damages.

                                           113.

         Plaintiffs are entitled to recover their reasonable attorneys’ fees and costs of

suit.

           COUNT VI: DISCRIMINATION CLAIM UNDER THE ADA
                            (Plaintiff Colbert)

                                           114.

         Plaintiff Colbert repeats and incorporates by reference herein the allegations

of Paragraphs 1 through 71 of the Complaint.

                                           115.

         The ADA prohibits discrimination against a person with a disability.

                                           116.

         Plaintiff’s diagnosed anxiety and depression constitute a disability under the

ADA.

                                           117.

         DAA was aware that Plaintiff had a disability.


                                          - 30 -
     Case 1:21-cv-02720-WMR-JSA Document 1 Filed 07/07/21 Page 31 of 36




                                        118.

      Alternatively, DAA perceived Plaintiff to be disabled.

                                        119.

      By failing to inform Plaintiff of her rights under the ADA, including the right

to accommodations and by failing to engage in the interactive process, DAA

discriminated against Plaintiff because of her disability or DAA’s perception of

Plaintiff having a disability.

                                        120.

      Further, by mocking employees who suffered from anxiety attacks and

fainting and by threatening to terminate Plaintiff for anxiety attacks associated with

her disability, DAA discriminated against Plaintiff because of her disability or

DAA’s perception of Plaintiff having a disability.

                                        121.

      Plaintiff could perform the essential functions of her job with accommodation.

                                        122.

      DAA’s discriminatory and illegal actions against Plaintiff violated the ADA.

                                        123.

      As a direct, legal, and proximate result of the discrimination, Plaintiff has

sustained economic and emotional injuries, resulting in damages in an amount to be

                                        - 31 -
     Case 1:21-cv-02720-WMR-JSA Document 1 Filed 07/07/21 Page 32 of 36




proven at trial. Plaintiff is entitled to recover back pay, future monetary losses, and

compensation for mental anguish and inconvenience.

                                          124.

       Defendant DAA’s unlawful actions were intentional, willful, malicious,

and/or done with reckless disregard to Plaintiff’s right to be free from discrimination

based on disability, entitling Plaintiff to recover punitive damages.

                                          125.

       Plaintiff is entitled to recover her reasonable attorneys’ fees and costs of suit.

          COUNT VII: RETALIATION CLAIM UNDER THE ADA
                         (Plaintiff Colbert)

                                          126.

       Plaintiff repeats and incorporates by reference herein the allegations of

Paragraphs 1 through 71 of the Complaint.

                                          127.

       The ADA prohibits retaliation against a person with a disability.

                                          128.

       Plaintiff’s diagnosed anxiety and depression constitute a disability under the

ADA.

                                          129.

       DAA was aware that Plaintiff had a disability.
                                         - 32 -
     Case 1:21-cv-02720-WMR-JSA Document 1 Filed 07/07/21 Page 33 of 36




                                          130.

      Alternatively, DAA perceived Plaintiff to be disabled.

                                          131.

      Plaintiff engaged in protected activity by informing DAA of her disability.

Further, after being threatened with termination because of her disability, Plaintiff

further engaged in protected activity by filing her first Charge of Discrimination with

the EEOC alleging, among others, discrimination under the ADA.

                                          132.

       By mocking employees who suffered from anxiety attacks and fainting and

by threatening to terminate Plaintiff for anxiety attacks associated with her disability,

DAA retaliated against Plaintiff because of her disability or DAA’s perception of

Plaintiff having a disability.

                                          133.

      Within a couple of months of filing her first Charge of Discrimination in

which she alleged disability discrimination, Plaintiff Colbert was notified that she

would be terminated and was ultimately terminated from her position by DAA. Such

adverse action was taken in retaliation for Plaintiff filing her first Charge of

Discrimination with the EEOC.




                                         - 33 -
     Case 1:21-cv-02720-WMR-JSA Document 1 Filed 07/07/21 Page 34 of 36




                                         134.

      At all times relevant hereto, Plaintiff could perform the essential functions of

her job with accommodation.

                                         135.

      DAA’s retaliatory and illegal actions against Plaintiff violated the ADA.

                                         136.

      As a direct, legal, and proximate result of the retaliation, Plaintiff has

sustained economic and emotional injuries, resulting in damages in an amount to be

proven at trial. Plaintiff is entitled to recover back pay, future monetary losses, and

compensation for mental anguish and inconvenience.

                                         137.

      Defendant DAA’s unlawful actions were intentional, willful, malicious,

and/or done with reckless disregard to Plaintiff’s right to be free from retaliation

based on disability, entitling Plaintiff to recover punitive damages.

                                         138.

      Plaintiff is entitled to recover her reasonable attorneys’ fees and costs of suit.

      WHEREFORE, Plaintiffs prays that they recover the following:

             (a)    The Court enjoin Defendants’ continuing unlawful employment

      practices;

                                        - 34 -
Case 1:21-cv-02720-WMR-JSA Document 1 Filed 07/07/21 Page 35 of 36




       (b)    Back pay, front pay, compensation for all their monetary losses,

 and all monetary awards allowed by law;

       (c)    Any additional liquidated damages;

       (d)    Punitive damages in an amount to be determined by the

 enlightened conscience of the jury;

       (e)    Litigation costs, including reasonable attorneys’ fees; and

       (f)    Such other and further relief as the Court may deem appropriate.

 This 7th day of July, 2021.

                                           /s/ Cary Ichter
                                           Cary Ichter
                                           Georgia Bar No. 382515
                                           Oladimeji A. Ogunsola
                                           Georgia Bar 857808

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                                  - 35 -
    Case 1:21-cv-02720-WMR-JSA Document 1 Filed 07/07/21 Page 36 of 36




                               CERTIFICATION
      Pursuant to Local Rule 7.1(D), undersigned counsel certifies that this filing

has been prepared with one of the font and point selections approved by the Court

in Local Rule 5.1(B).

                                               /s/ Cary Ichter
                                               Cary Ichter
                                               Georgia Bar No. 382515




                                      - 36 -
